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         EXHIBIT A
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            BEFORE THE UNITED STATES JUDICIAL PANEL
                 ON MULTIDISTRICT LITIGATION




IN RE ORAL PHENYLEPHRINE
MARKETING AND SALES PRACTICES        MDL No. 3089
LITIGATION




    REPLY MEMORANDUM OF JOHNSON & JOHNSON CONSUMER INC.
  IN SUPPORT OF MOTION FOR TRANSFER OF TUOMINEN V. JOHNSON &
         JOHNSON CONSUMER INC. PURSUANT TO 28 U.S.C. § 1407
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                                      INTRODUCTION

       90 interested parties (77 plaintiffs and 13 defendants) have spoken up to support

centralization of the more than 70 consumer class actions challenging the efficacy of oral

phenylephrine (“PE”) as a nasal decongestant. Three plaintiffs (represented by the same counsel

and with similar complaints), however, including Plaintiff Tina Tuominen, oppose the inclusion

in the proposed MDL of their actions challenging the efficacy of oral PE as a nasal decongestant.

Tuominen specifically opposes the inclusion of her action against Johnson & Johnson Consumer

Inc. (“JJCI”) in the proposed MDL. If Tuominen’s action is not centralized, it risks opening the

floodgates to copycat claims and other attempts at creative pleading to avoid MDL treatment. That

should not be permitted. The MDL should centralize all consumer claims challenging whether

products containing oral PE were properly labeled and marketed as effective nasal decongestants,

including those of Tuominen.

       Tuominen argues that her claims challenging PE’s efficacy with respect to two of JJCI’s

decongestant products should not be consolidated with other plaintiffs’ claims challenging PE’s

efficacy because she “do[es] not at all challenge the efficacy of any decongestant product.”

Response at 2.1 But Tuominen mischaracterizes her own complaint, which repeatedly alleges that

oral PE is ineffective, see Compl. ¶¶ 2, 6, 7, 44, and prominently features the FDA advisory

committee’s September 2023 conclusion that PE is not effective as a nasal decongestant, see id.




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  In this reply memorandum, “Response” refers to the Maximum Strength Plaintiffs’ Response of
Interested Parties Opposing Transfer of Their Actions (ECF No. 220). “Compl.” refers to the
Complaint, Tuominen v. Johnson & Johnson Consumer Inc., Case No. 1:23-cv-13796 (N.D. Ill.)
(ECF No. 1). “Defendants’ Response” refers to the Response of Defendants in Support of Motion
for Transfer of Actions Pursuant to 28 U.S.C. § 1407 (ECF No. 230). Tuominen filed the Response
together with two other plaintiffs raising similar claims, Mohamad Tlaib and Rose Riccio.
Response at 1. Because Tlaib and Riccio’s lawsuits were not included in the original motion to
transfer (see ECF No. 1-2), those actions are not presently before the Panel.

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¶¶ 2, 27. Her action therefore raises the same factual and legal questions at issue in the other

actions in this proposed MDL.

       Tuominen nevertheless argues that her claims are different because they are styled as

challenges to the truthfulness of the phrase “maximum strength” on the labels of two JJCI products.

Response at 2. Tuominen’s claims that the “maximum strength” language is deceptive are based

primarily on her allegation of PE’s inefficacy. See Compl. ¶ 5. To the extent those claims may

raise distinct factual issues from other claims focused solely on the efficacy of oral PE, any such

distinct factual issues can be easily managed by the transferee court. There is no basis for carving

out Tuominen’s claims, and her case should be centralized under 28 U.S.C. § 1407 along with all

other consumer class actions challenging the labeling and marketing of PE containing products.

                                           ARGUMENT

I.     TUOMINEN’S ACTION CHALLENGING THE EFFICACY OF PRODUCTS
       CONTAINING ORAL PHENYLEPHRINE SHOULD BE CENTRALIZED WITH
       THE OTHER ACTIONS

       This Panel may centralize two or more civil cases for coordinated pretrial proceedings

when (i) transfer “will promote the just and efficient conduct of such actions,” (ii) the cases

“involv[e] one or more common questions of fact,” and (iii) transfer will further “the convenience

of parties and witnesses.” 28 U.S.C. § 1407(a). As Defendants explained in their joint response

in support of transfer, the requirements for centralization are readily met. All of the actions listed

in the initial motion to transfer, and all cases identified as potential tag-along actions, present

overlapping legal and factual questions stemming from the contention that PE is not effective as a




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nasal decongestant, making centralization convenient and efficient. See Defendants’ Response at

8-14.2 That is no less true for Tuominen’s suit.

       Tuominen argues that her suit should not be included with other actions challenging the

efficacy of PE because, she contends, her claims “do not at all challenge the efficacy of any

decongestant products, nor is proof that PE decongestants lack any efficacy an issue in” her case.

Response at 2. Instead, she argues, she challenges only the use of “Maximum Strength” on the

packaging of the products at issue. See id. at 3.

       But Tuominen’s intention to prove that the JJCI products at issue are not “maximum

strength” decongestants because their active ingredient—PE—is allegedly ineffective for nasal

decongestion is readily apparent from the face of her complaint. Her complaint is littered with

allegations that PE is “ineffective” as an “active oral nasal decongestant.” Compl. ¶ 5; see also,

e.g., id. ¶ 6 (alleging that “studies have shown phenylephrine hydrochloride is no more effective

than a placebo.”). She contends that the “maximum strength” labels are “misleading because nasal

decongestants that are actually effective . . . are available.” Id. ¶ 7; see also id. ¶ 44 (“[JJCI]

omitted from the products’ labeling the fact that there are other, non-prescription products

available in the market that are effective decongestants . . . .”). And this theory explains why her

complaint prominently alleges that an FDA advisory committee “has determined [PE] to be no

more effective as a nasal decongestant than a placebo”—and why, like the other actions in this

proposed MDL, her complaint comes on the heels of that advisory committee meeting. Id. ¶¶ 2,

27. In short, Tuominen intends to prove factually that PE is ineffective in service of her theory




2
  The existence of “common questions of fact” among the cases to be centralized does not mean
that any of those cases is amenable to class treatment. See Defendants’ Response at 12 n.7. JJCI
does not concede that the requirements of class certification are met in Tuominen’s action or any
other action in the proposed MDL.

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that the JJCI products she challenges are not, in fact, the “maximum strength” nasal decongestants

available.

       Tuominen’s action should therefore be centralized for the same reasons as the other

consumer class actions in this proposed MDL. Because her suit challenges PE’s efficacy, it

presents the same threshold legal questions under the doctrines of preemption and primary

jurisdiction. See Defendants’ Response at 8-11.

       Tuominen’s action also raises factual questions that justify centralization with the other

actions challenging PE’s efficacy. It raises questions, for instance, regarding the significance of

the FDA advisory committee’s conclusion that oral PE is ineffective; the weight of competing

scientific studies; the regulatory history of PE; the labeling requirements for PE under current

regulations; and what action, if any, the FDA takes in response to the advisory committee’s

determination. See id. at 12-13. For these reasons, centralization would serve the convenience of

parties and witnesses by reducing duplicative discovery and motion practice. See id. at 13-14.

       Tuominen also argues that centralization is unwarranted because she alleges that the

“maximum strength” labels are deceptive for “starkly different” reasons from the alleged

ineffectiveness of PE. Response at 2 (citing Compl. ¶¶ 3-5). But as the allegations she cites make

clear, her core theory is that the JJCI products at issue are not “maximum strength” because PE is

“inferior” to pseudoephedrine and “ineffective” as an “oral nasal decongestant ingredient” (Compl.

¶ 5)—the same factual theory underlying the other actions in the proposed MDL. Tuominen also

contends her case is “materially different” because “the products include a regular strength dose

of acetaminophen such that there is no basis to claim they offer a Maximum Strength dose.”

Response at 5-6. This added argument about acetaminophen dosages does not justify opening the

floodgates for enterprising plaintiffs to pick and choose among the various claims on the same or



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similar product labels when the core of the challenge is the same, defeating the purpose of an MDL

proceeding.3

       As this Panel has consistently held, “[t]ransfer under Section 1407 does not require a

complete identity or even a majority of common factual or legal issues as a prerequisite to

transfer.” In re Katz Interactive Call Processing Pat. Litig., 481 F. Supp. 2d 1353, 1355 (J.P.M.L.

2007); accord, e.g., In re Ashley Madison Customer Data Sec. Breach Litig., 148 F. Supp. 3d 1378,

1380 (J.P.M.L. 2015); see also In re ClassicStar Mare Lease Litig., 528 F. Supp. 2d 1345, 1346

(J.P.M.L. 2007) (centralizing actions because “[r]egardless of any differences among the actions,

all actions arise from the same factual milieu, raising common factual questions”). That some

individual cases may present “individualized factual issues” does not “negate the efficiencies to

be gained by centralization.” In re Soc. Media Adolescent Addiction/Pers. Inj. Prods. Liab. Litig.,

637 F. Supp. 3d 1377, 1378 (J.P.M.L. 2022). Tuominen’s heavy reliance on the Panel’s exclusion

of the Hohman matter from In re: Zicam Cold Remedy Marketing & Sales Practices Litigation

shows how comparatively weak her argument is here. Response at 6-7 (citing 655 F. Supp. 2d

1371 (J.P.M.L. 2009)). The multidistrict litigation created there centered on personal injury claims

(“whether the product caused anosmia”), and the Hohman case was about product efficacy, and

did “not include the issue of whether the [products’] caused anosmia.” Id. at 1372-73. Here, all

of the actions proposed for the MDL, including Tuominen’s, challenge product efficacy. 4


3
  As noted supra at n.1, Tuominen is one of three plaintiffs (with four lawsuits) currently seeking
to exclude themselves from any MDL. Each case has been noticed as related by various defendants
who support their transfer to an MDL, and while these other complaints also purport to challenge
“maximum strength” claims, they too rely on extensive allegations that PE is ineffective.
4
  The other cases cited by Tuominen in the Response are readily distinguishable and addressed
differences far more material than those presented here. For example, in In re Welding Fume
Products Liability Litigation, 560 F. Supp. 2d 1356 (J.P.M.L. 2008), cited in the Response, the
Panel vacated a conditional transfer order including a case in an MDL addressing “neurological
injuries allegedly caused by exposure to manganese” because the case at issue addressed a
(continued…)
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       In any event, any issues specific to Tuominen’s “maximum strength” claims—to the extent

they actually differ from the efficacy claims—can be easily managed by the transferee judge. For

instance, “[t]he transferee judge can address unique issues using separate discovery tracks for each

defendant or platform and employ separate motion tracks, to the extent necessary.” In re Soc.

Media, 637 F. Supp. 3d at 1378. And once common issues are resolved, a transferee judge has

discretion to suggest remand for resolution of any remaining individual issues. See In re Tylenol

(Acetaminophen) Mktg., Sales Pracs. & Prods. Liab. Litig., 936 F. Supp. 2d 1379, 1380 (J.P.M.L.

2013). There is thus no reason to carve out Tuominen’s substantially overlapping “maximum

strength” claims from this proposed MDL. 5

                                         CONCLUSION

       For the foregoing reasons and the reasons stated in Defendants’ Response (ECF No. 230),

Tuominen v. Johnson & Johnson Consumer Inc., Case No. 1:23-cv-13796 (N.D. Ill.), should be

centralized for pretrial proceedings in the Southern or Eastern District of New York.




completely different injury (laryngeal cancer) allegedly caused by exposure to a completely
different material. Id. at 1357.
5
  If this Court agrees with Tuominen that her claims “do not at all challenge the efficacy” of PE,
Response at 2, then she will be precluded in later phases of her case from asserting that PE is
ineffective. See, e.g., New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (judicial estoppel).

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Dated: November 1, 2023                   Respectfully submitted,


                                          /s/ Hannah Y. Chanoine
                                          Hannah Y. Chanoine
                                          O’MELVENY & MYERS LLP
                                          7 Times Square
                                          New York, NY 10036
                                          Telephone: (212) 326-2128
                                          hchanoine@omm.com

                                          Counsel for Defendant
                                          Johnson & Johnson Consumer Inc.




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